  Case 17-37321       Doc 30   Filed 04/20/18 Entered 04/23/18 08:13:25               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )             BK No.:      17-37321
                                              )
RODERICK MAURICE YOUNG                        )             Chapter: 13
                                              )
                                                            Honorable Janet S. Baer
                                              )
                                              )             Kane
               Debtor(s)                      )

               ORDER VALUING CLAIM OF REAL TIME RESOLUTIONS INC.

        On February 23, 2018, the debtor(s) filed a motion to value the claim of Real Time Resolutions
Inc. (the "creditor") secured by a lien against the property commonly known as 2S540 White Birch
Lane, Wheaton, Illinois 60189 (address) with real estate tax pin number 05-29-301-016 (the
"property"), notice having been given, the Court being advised in the premises, and the creditor having
not responded to the motion;

  IT IS HEREBY ORDERED THAT:

  1. The motion is granted as set forth herein.

  2. For purposes of the Chapter 13 plan only, any claims asserted by the creditor stemming from its
Mortgage Lien (identified by the last four digits of the account number as 6325) against the property are
entirely unsecured pursuant to 11 U.S.C. § 506(a) given the value of the property and the amount of
senior liens.

  3. Any timely filed proof of claim of the creditor for the Mortgage Lien will be treated as an
unsecured claim in the Chapter 13 plan.

  4. Upon completion of the Chapter 13 plan and entry of discharge, the creditor's mortgage lien will be
deemed satisfied pursuant to 11 U.S.C. §§ 1322(b)(2), 1327 and 1328(a).
                ✔    and entry of a discharge
the creditor's Mortgage Lien will be deemed satisfied pursuant 11 U.S.C. §§ 1322(b)(2), 1327 and
1328(a).

                                                          Enter:


                                                                    Honorable Janet S. Baer

Dated: April 20, 2018                                               United States Bankruptcy Judge

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